
PER CURIAM.
We affirm the termination of the parental rights of the mother, J.F., with respect to her children, A.C. and T.J.C. After careful review we conclude that J.F. was properly served with notice of the termination hearing; that there was clear and convincing evidence that termination of J.F.’s rights was in the best interest of the children; and that the trial judge properly denied J.F.’s motion to set aside default judgment because J.F. failed to satisfy the three-part test set forth in E.S. v. Dep’t of Children &amp; Family Servs., 878 So.2d 493, 496 (Fla. 3d DCA2004).
AFFIRMED.
PLEUS, C.J., ORFINGER, and MONACO, JJ., concur.
